
In re Louisiana Patient’s Comp. Fund; Andrews, Dr. Lucius Clay; Louisiana Patient’s Comp.Fd.OS; — Defendant(s); applying for writ of certiorari and/or review, supervisory and/or remedial writs; Parish of Jefferson, Twenty-Fourth Judicial District, Div. “P”, No. 453-622; to the Court of Appeal, Fifth Circuit, No. 96-CW-0422.
Granted. La.R.S. 40:1299.44(C) contemplates a settlement between the patient and the health care provider. Since plaintiff has refused to accept the tendered $100,000, no settlement has taken place. See Ewing v. Aubert, 566 So.2d 616 (La.1990). Accordingly, the judgment of the court of appeal is vacated and set aside, and the judgment of the trial court denying the motion in limine is reinstated.
KIMBALL, J., would grant and docket.
WATSON, J., dissents.
LEMMON, J., not on panel.
